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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF DELAWARE

                                      )
                                      )
SAM L. CARTER, derivatively on behalf
                                      )
of GULFPORT ENERGY CORP.,
                                      )
              Plaintiff,              )
     v.                               )
                                      )
DAVID M. WOOD, KERI CROWELL, )
QUENTIN R. HICKS, DAVID L.            )
HOUSTON, BEN T. MORRIS, C.              C.A. No. 1:20-cv-00839-MN
                                      )
DOUG JOHNSON, DEBORAH G.              )
ADAMS, and PAUL D. WESTERMAN, )
              Defendants,             )
                                      )
     - and -                          )
GULFPORT ENERGY CORP.,                )
                                      )
              Nominal Defendant.
                                      )
                                      )

   NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE




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      WHEREAS, no Defendant in the above-captioned action has served an

answer or moved for summary judgment. No compensation has been rendered to

Plaintiff in return for this dismissal. Plaintiff has not previously dismissed an action

based on or including the same claims as presented in this instant action.

      NOTICE IS HEREBY GIVEN that, pursuant to Rule 41(a)(1)(A)(i),

Plaintiff Sam L. Carter hereby voluntarily dismisses the claims in the above-

captioned action, without prejudice, as to all Defendants.



Dated: October 6, 2020                   Respectfully submitted,

                                          O’KELLY & ERNST, LLC

                                          /s/ Ryan M. Ernst
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